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                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA

VERNON UNSWORTH                                                      casE NUMSEx

                                                       Plaintiffs)                           2:18-CV-8048
                                    v.
ELON MUSK
                                                                           (P           ORDER ON REQUEST FOR
                                                                                APPROVAL OF SUBSTITUTION OR
                                                     Defendants)
                                                                                 WITHDRAWAL OF ATTORNEY


         The Court hereby orders that the request of:

ELON MUSK                                            ❑Plaintiff ❑X Defendant ❑Other
                     Name ofParty

to substitute ROBERT M.SCHWARTZ of QUINN EMANUEL URQUHART & SULLIVAN,LLP Who is

       x Retained Counsel
       ~                                 ❑Counsel appointed by the Court (Criminal cases only)               ❑Pro Se

865 South Figueroa Street, 10th Floor
                                                              Street Address

      Los Angeles, CA 90017-2543                                                robertschwartz@quinnemanuel.com
                            City, State, Zip                                                    E-Mail Address

        (213)443-3000                                                                            117166
                     Telephone Number                         Fax Number                                   State Bar Number

as attorney of record instead of JOHN C. HUESTON,MOEZ M. KABA,SOURABH MISHRA,&
                                                     List all attorneysfrom samefirm or agency who are withdrawing.
MICHAEL H. TODISCO of HUESTON HENNIGAN LLP



is hereby            ~"GRANTED              ❑DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorneys) in this case.



         Dated          G
                                                                       U. .District Judge/U.            istrate Judge



G-Ol ORDER (09/17)          (PROPOSED)ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
